                              Case 2:19-cv-01502-BJR Document 1-1 Filed 09/19/19 Page 1 of 1

JS 44 (Rev. 09/19)                                                        CIVff L COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ONNIiYT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
            State of Washington                                                                              DONALD TRUMP, et al.

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN [IS. PLAINTIFF CASES ONLY)
                                                                                                              NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (C) Attorneys (First Name, Address, and Telephone Number)                                                 Attorneys (If Known)
           Washington Office of the Attorney General                                                      US Attorney's Office
           800 Fifth Ave., Ste. 2000, Seattle, WA 98104                                                   700 Stewart St.; Ste. 5220
           (206)464-7744
                                                                                                          Seattle, WA 98101
IL BASIS OF JURISDICTION (Piave au -X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an 'X" in one BoxforPlainti
                                                                                                         (For Diversity Cases Onl i)                                         and One Box for Defendant)
❑ 1    U.S. Government                ❑ 3 Federal Question                                                                         PTF DEF                                                  PTF DEF
         Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State             ❑ 1        ❑    I Incorporated or Principal Place      ❑ 4     ❑ 4
                                                                                                                                                            of Business In This State

Q 2 U.S. Government                   ❑ 4 Diversity                                                 Citizen of Another State          [3 2       ❑ 2 Incorporated and Principal Place        ❑ 5     ❑ 5
      Defendant                                (Indicate Citizenship of Parties in Item 711)                                                             of Business hi Another State

                                                                                                    Citizen or Subject of a           L'•. 3     ❑ 3 Foreign Nation                          ❑ 6     ❑ 6
                                                                                                      Foreign Country                 _
IV. NATURE OF SIJIT /place an "Y" in (bee RaxOnlv)                                                                                                Click here fnr Nnthue of Knit Cnrlr nrgr,mtinns
      CONTRACT'-                             TORTS                                                    FORFEITUREIPENALTY                             BANKRUPTCY                   OTHER STATUTES
❑   110 Insurance                       PERSONAL INJURY               PERSONAL INJURY               ❑ 625 Drug Related Seizure            ❑ 422 Appeal 28 USC 158           ❑ 375 False Claims Act
❑   120 Marine                       ❑ 310 Airplane                 ❑ 365 Personal Injury -               of Property 21 USC 881          ❑ 423 Withdrawal                  ❑ 376 Qui Tam (31 USC
❑   130 Miller Act                   ❑ 315 Airplane Product                Product Liability        ❑ 690 Other                                 28 USC 157                         3729(a))
❑   140 Negotiable Instrument               Liability               ❑ 367 Health Care/                                                                                      ❑ 400 State Reapportionment
❑   150 Recovery of Overpayment      ❑ 320 Assault, Libel &               Pharmaceutical                                                    PROPERTY RIGHTS                 ❑ 410 Antitrust
        & Enforcement of Judgment           Slander                       Personal Injury                                                 ❑ 820 Copyrights                  ❑ 430 Banks and Banking
❑   151 Medicare Act                 ❑ 330 Federal Employers'             Product Liability                                               ❑ 830 Patent                      ❑ 450 Commerce
❑   152 Recovery of Defaulted               Liability               ❑ 368 Asbestos Personal                                               ❑ 835 Patent - Abbreviated        ❑ 460 Deportation
        Student Loans                0-340 Marine                          Injury Product                                                       New Drug Application        ❑ 470 Racketeer Influenced and
        (Excludes Veterans)          ❑ 345 Marine Product                 Liability                                                       ❑ 840 Trademark                         Corrupt Organizations
❑   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                          LABOR                         SOCIAL SECURITY              ❑ 480 Consumer Credit
        of Veteran's Benefits        ❑ 350 Motor Vehicle            ❑ 370 Other Fraud               ❑ 710 Fair Labor Standards            ❑ 861 HIA (139511)                       (15 USC 1681 or 1692)
❑   160 Stockholders' Suits          ❑ 355 Motor Vehicle            ❑ 371 Truth in Lending                 Act                            ❑ 862 Black Lung (923)            ❑ 485 Telephone Consumer
❑   190 Other Contract                     Product Liability        ❑ 380 Other Personal            ❑ 720 Labor/Management                ❑ 863 DIWC/DIW W (405(g))                Protection Act
❑   195 Contract Product Liability   ❑ 360 Other Personal                 Property Damage                  Relations                      ❑ 864 SSID Tide XVI               ❑ 490 Cable/Sat TV
❑   196 Franchise                          Injury                   ❑ 385 Property Damage           ❑ 740 Railway Labor Act               O 865 RSI (405(g))                ❑ 850 Securities/Commodities/
                                     ❑ 362 Personal Injury -              Product Liability         ❑ 751 Family and Medical                                                       Exchange
                                           Medical Malpractice                                             Leave Act                                                        ❑ 890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                PRISONER PETITIONS             ❑ 790 Other Labor Litigation            FEDERAL TAX SUITS               ❑ 891 Agricultural Acts
❑   210 Land Condemnation            ❑ 440 Other Civil Rights           Habeas Corpus:              ❑ 791 Employee Retirement             ❑ 870 Taxes (U.S. Plaintiff       ❑ 893 Environmental Matters
❑   220 Foreclosure                  ❑ 441 Voting                   ❑   463 Alien Detainee                Income Security Act                    or Defendant)              ❑ 895 Freedom of Information
❑   230 Rent Lease & Ejectment       ❑ 442 Employment               ❑   510 Motions to Vacate                                             ❑ 871 IRS—Third Party                    Act
❑   240 Torts to Land                ❑ 443 Housing/                         Sentence                                                             26 USC 7609                ❑ 896 Arbitration
❑   245 Tort Product Liability             Accommodations           ❑   530 General                                                                                         X 899 Administrative Procedure
❑   290 All Other Real Property      ❑ 445 Amer. w/Disabilities -   ❑   535 Death Penalty                  LVMtIGRATION                                                           Act/Review or Appeal of
                                           Employment                   Other:                      ❑ 462 Naturalization Application                                              Agency Decision
                                     ❑ 446 Amer. w/Disabilities -   ❑   540 Mandamus & Other        ❑ 465 Other Immigration                                                 ❑ 950 Constitutionality of
                                           Other                    ❑   550 Civil Rights                  Actions                                                                  State Statutes
                                     ❑ 448 Education                ❑   555 Prison Condition
                                                                    ❑   560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an "X" in One Box Only)
0 1 Original             O 2 Removed from                Q 3 Remanded from                     O 4 Reinstated or       ❑ 5 Transferred from              ❑ 6 Multidistrict           O 8 Multidistrict
     Proceeding               State Court                      Appellate Court                      Reopened               Another District                  Litigation -                Litigation -
                                                                                                                               (spechg                       Transfer                    Direct File
                                         Cite the U.J. Civil Statute under which you are tiling (Do not cite jurisdictional statutes unless diversity):
                                          5 U.S.C. § 706
VI. CAUSE OF ACTION                      Brief description of cause:

VII. REQUESTED IN     [73 CHECK IF THIS IS A CLASS ACTION                                             DEMANDS                                         CHECK YES only if demanded in complaint:
     COMPLAINT:            UNDER RULE 23, F.R.Cv.P.                                                                                                   JURY DEMAND:               Cl Yes QNo
VIII. RELATED CASE(S)
                         (See insinrctimrs):
      IF ANY                                 JUDGE                                                                                             DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD




    RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                             MAG. JUDGE
